Case 1: O2- -C\/- -OlOlO- STA Document 28 Filed 07/08/05 Page 1 of 2 Page|D 35

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IN THE UNITED STATES DiSTRlCT COL?RJY/jj j,/;j
FOR THE WESTERN DISTRICT OF TENNESSEE <9 pg
EASTERN DIVISION ;,-jj 1,-¢. aj 0 n

UNITED STATES OF AMERICA,

 

Plaintiff,
v.
TWenty-Eight Thousand Two Hundred
Seventy Dollars ($28,270.00) in

United States Currency,

Dofendant.

 

ORDER ON C()NTINUANCE

 

Upon motion of the United States, the trial in the above-styled case is continued from its

current setting ofluly 11, 2005 to AUG U ST /5, ‘§00 5 AT q"$OA.M.
IT ls So oRDERED, thng/_dday Of SHA& ,2005.

CSFM @~.1

S. THOMAS ANDERSON
United States Magistrate Judge

APPROVED:

TERRELL L. HARRIS
United States Attorney

@M£M

ristopher E Cotten
Assistant United States Attorney

 

This document entered on the docket sheet in compliance
with Ru!e 58 and,‘ or _79 (a) FRCP on 7 l l 1 l QS

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UNITD s'TE'ASDISTRIC COURT - WTERN DISITRCT OF TENNESSEE

   
   

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Honorable S. Anderson
US DISTRICT COURT

